                     Case 2:13-cv-01282-KJM-AC Document 2 Filed 06/26/13 Page 1 of 8

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           11
                                              UNITED STATES DISTRICT COURT
           12
                                             EASTERN DISTRICT OF CALIFORNIA
           13
                 MARIA DEL CARMEN PENA, CONSUELO                CASE NO.
           14    HERNANDEZ, LETICIA SUAREZ,
                 ROSEMARY DAIL, WENDELL T. MORRIS,              NOTICE OF REMOVAL OF CLASS
           15    on behalf of themselves and on behalf of all   ACTION BY DEFENDANT TAYLOR
                 other similarly situated individuals,          FARMS PACIFIC, INC.
           16
                                     Plaintiffs,                [San Joaquin Superior Court, Case No. 39-2012-
           17                                                   00276847-CU-OE-STK]
                       v.
           18
                 TAYLOR FARMS PACIFIC, INC., d/b/a
           19    TAYLOR FARMS, ABEL MENDOZA, INC.,
                 MANPOWER, INC., QUALITY FARM
           20    LABOR, INC., SLINGSHOT
                 CONNECTIONS, LLC and DOES 1-50,
           21    inclusive,
           22                        Defendants.
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Gibson, Dunn &                        NOTICE OF REMOVAL OF CLASS ACTION BY DEFENDANT
Crutcher LLP                                      TAYLOR FARMS PACIFIC, INC.
                        Case 2:13-cv-01282-KJM-AC Document 2 Filed 06/26/13 Page 2 of 8

            1
                                                                        TABLE OF CONTENTS
            2
                                                                                                                                                               Page
            3
                 TIMELINESS OF REMOVAL............................................................................................................. 1
            4
                 SUMMARY OF PLAINTIFFS’ ALLEGATIONS AND FACTS GIVING RISE TO
            5    REMOVAL ........................................................................................................................................... 2
            6               A.         Plaintiffs and At Least One Defendant are Citizens of Different States ....................... 2
            7               B.         Plaintiffs Allege a Putative Class of More Than 100 Individuals................................. 3
            8               C.         The Amount Placed in Controversy By The 6AC Exceeds $5 Million ........................ 3
            9    THIS COURT HAS JURISDICTION AND REMOVAL IS PROPER ............................................... 4
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           17

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           23

           24

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           27

           28
                                                                                           i
Gibson, Dunn &                                    NOTICE OF REMOVAL OF CLASS ACTION BY DEFENDANT
Crutcher LLP                                                  TAYLOR FARMS PACIFIC, INC.
                        Case 2:13-cv-01282-KJM-AC Document 2 Filed 06/26/13 Page 3 of 8

            1
                                                                     TABLE OF AUTHORITIES
            2
                                                                                                                                                            Page(s)
            3                                                                           Cases
            4    Cohn v. Petsmart, Inc.,
                    281 F.3d 837 (9th Cir. 2002)........................................................................................................... 4
            5
                 Guglielmino v. McKee Foods Corp.,
            6       506 F.3d 696 (9th Cir. 2007)....................................................................................................... 3, 4
            7    Hertz Corp. v. Friend,
                    130 S.Ct. 1181 (2010) ..................................................................................................................... 3
            8
                 Yeroushalmi v. Blockbuster Inc.,
            9       Case No. CV 05-2550, 2005 U.S. Dist. LEXIS 39331 (C.D. Cal. July 11, 2005).......................... 4
           10                                                                         Statutes
           11    28 U.S.C. § 1332(d)(2)(A) .................................................................................................................... 2
           12    28 U.S.C. § 1332(d)(6).......................................................................................................................... 2
           13    28 U.S.C. § 1441(a) .............................................................................................................................. 5
           14    28 U.S.C. § 1446(b)(3).......................................................................................................................... 1
           15    28 U.S.C. § 84(d) .................................................................................................................................. 5
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           28
                                                                                           ii
Gibson, Dunn &                                     NOTICE OF REMOVAL OF CLASS ACTION BY DEFENDANT
Crutcher LLP                                                   TAYLOR FARMS PACIFIC, INC.
                      Case 2:13-cv-01282-KJM-AC Document 2 Filed 06/26/13 Page 4 of 8

            1           TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO PLAINTIFFS
            2    MARIA DEL CARMEN PENA, CONSUELO HERNANDEZ, LETICIA SUAREZ,
            3    ROSEMARY DAIL, AND WENDELL T. MORRIS, AND THEIR COUNSEL OF RECORD:
            4    PLEASE TAKE NOTICE THAT, pursuant to the Class Action Fairness Act of 2005 (“CAFA”), 28
            5    U.S.C. §§ 1332, 1441, 1446, and 1453, Defendant Taylor Farms Pacific, Inc. (“Taylor Farms
            6    Pacific”) hereby removes to the United States District Court for the Eastern District of California the
            7    above-captioned state court action, originally filed as Case No. 39-2012-00276847-CU-OE-STK in
            8    San Joaquin County Superior Court, State of California. Removal is proper on the following
            9    grounds:
           10                                         TIMELINESS OF REMOVAL
           11           1.      Plaintiffs Maria del Carmen Pena, Consuelo Hernandez, Leticia Suarez, Rosemary
           12    Dail, and Wendell T. Morris (“Plaintiffs”) filed a class action Complaint (“Initial Complaint”) against
           13    Defendant Taylor Farms Pacific, Inc. on February 17, 2012 in San Joaquin County Superior Court in
           14    which they alleged various wage and hour claims. Declaration of Sarah Zenewicz (“Zenewicz
           15    Decl.”) Exh. A [Initial Complaint].
           16           2.      On May 31, 2013, Plaintiffs filed a motion for leave to file a Sixth Amended
           17    Complaint (“6AC”), which among other things named four new defendants, including Abel
           18    Mendoza, Inc., Manpower, Inc., Quality Farm Labor, Inc., and Slingshot Connections, LLC.
           19    Zenewicz Decl., Exh. B [6AC]. On June 26, 2013, the Superior Court granted Plaintiffs’ motion for
           20    leave to file the Sixth Amended Complaint, and deemed it filed and served on Defendant Taylor
           21    Farms Pacific as of that date. Id.
           22           3.      “[A] notice of removal may be filed within 30 days after receipt by the defendant,
           23    through service or otherwise, of a copy of an amended pleading, motion, order, or other paper from
           24    which it may first be ascertained that the case is one which is or has become removable.” 28 U.S.C.
           25    § 1446(b)(3). Taylor Farms Pacific’s notice of removal is timely pursuant to 28 U.S.C. § 1446(b)
           26    because it is filed within 30 days after the Superior Court’s Order granting Plaintiffs’ motion for
           27    leave to amend the pleadings. Taylor Farms Pacific could not have removed on this basis any earlier
           28    because the basis for the instant removal—namely, the addition of a diverse defendant giving rise to
                                                                 1
Gibson, Dunn &                          NOTICE OF REMOVAL OF CLASS ACTION BY DEFENDANT
Crutcher LLP                                        TAYLOR FARMS PACIFIC, INC.
                      Case 2:13-cv-01282-KJM-AC Document 2 Filed 06/26/13 Page 5 of 8

            1    CAFA jurisdiction—first appeared in the 6AC. As set forth below, and for purposes of establishing
            2    minimal diversity under CAFA (28 U.S.C. § 1332(d)(2)(A)), Defendant Manpower, Inc.
            3    (“Manpower”) is a citizen of Wisconsin, a state different from at least one member of the proposed
            4    class. 28 U.S.C. § 1332(d)(2)(A).
            5                          SUMMARY OF PLAINTIFFS’ ALLEGATIONS AND
            6                                     FACTS GIVING RISE TO REMOVAL
            7           4.      Plaintiffs’ 6AC alleges that Defendants violated state wage and hour laws by, inter
            8    alia, failing to provide legally compliant meal and rest period, failing to pay for all time Plaintiffs
            9    actually worked, failing to pay all wages due at time of termination, and failing to provide proper pay
           10    stubs. See 6AC, ¶¶ 20, 29-78. Plaintiffs purport to seek these wages, expenses and penalties on
           11    behalf of the following class:
           12           All former and current non-exempt hourly employees of Taylor, and joint/dual
                        employees of Taylor and Co-Defendants, who worked at facilities owned and/or
           13           operated by Taylor during the four-year period preceding the filing of this action
                        through the date notice is mailed to the class.
           14
                 6AC, ¶ 5A (the “Class”).
           15

           16           5.      Taylor Farms Pacific denies any liability in this case. Taylor Farms Pacific also
           17    believe that class treatment is completely inappropriate under the circumstances here, and expressly
           18    reserves all rights in this regard. However, for purposes of the jurisdictional requirements for
           19    removal only, Defendants have a good faith basis to believe that the allegations in Plaintiffs’ 6AC
           20    put in controversy, in the aggregate, an amount that exceeds $5 million. See 28 U.S.C. § 1332(d)(6)
           21    (claims of individual class members set forth in the Complaint are “aggregated to determine whether
           22    the matter in controversy exceeds the sum or value of $5,000,000”).
           23    A.     Plaintiffs and At Least One Defendant are Citizens of Different States
           24           6.      Plaintiffs allege that Defendant Manpower, Inc. (“Manpower”) is a “Wisconsin
           25    corporation” with a local office in Stockton, California. 6AC,¶ 9. Manpower, is, in fact, a
           26    corporation organized under the laws of the State of Wisconsin and maintains its executive and
           27    administrative operations at its headquarters in Milwaukee, Wisconsin. See Zenewicz Decl., Exh. C.;
           28    Request for Judicial Notice in Support of Defendant Taylor Farms Pacific, Inc.’s Notice of Removal
                                                                  2
Gibson, Dunn &                           NOTICE OF REMOVAL OF CLASS ACTION BY DEFENDANT
Crutcher LLP                                         TAYLOR FARMS PACIFIC, INC.
                        Case 2:13-cv-01282-KJM-AC Document 2 Filed 06/26/13 Page 6 of 8

            1    of Class Action.
            2             7.    Under 28 U.S.C. § 1332(c)(1), “a corporation shall be deemed to be a citizen of any
            3    State by which it has been incorporated and of the State where it has its principal place of business.”
            4    A corporation’s principal place of business is identified pursuant to the “nerve center” test, set forth
            5    in Hertz Corp. v. Friend, 130 S.Ct. 1181 (2010). Under the “nerve center” test, a company’s
            6    principal place of business is in the state “where the corporation’s high level officers direct, control,
            7    and coordinate the corporation’s activities”- typically the corporation’s headquarters. Id. at 1186.
            8    The executive officers of Manpower, including its Chief Financial Officer and Director of Global
            9    Strategic Communications, maintain their offices at Manpower’s headquarters in Wisconsin. Request
           10    for Judicial Notice & Zenewicz Decl., Exh. C. Therefore, as Plaintiffs appears to concede in their
           11    6AC, Manpower is a citizen of Wisconsin—not California. Hertz, 130 S.Ct. at 1186. Plaintiffs
           12    allege that Defendants Abel Mendoza, Inc., Quality Farm Labor, Inc., and Slingshot Connections,
           13    LLC, are California corporations and/or organized under the laws of the state of California. 6AC, ¶¶
           14    10-12.
           15             8.    In contrast, Plaintiffs state that they reside in San Joaquin County, California. 6AC,
           16    ¶ 7.
           17    B.       Plaintiffs Allege a Putative Class of More Than 100 Individuals
           18             9.    The putative class alleged in Plaintiffs’ 6AC broadly encompasses “[a]ll former and
           19    current non-exempt hourly employees of Taylor, and joint/dual employees of Taylor and Co-
           20    Defendants, who worked at facilities owned and/or operated by Taylor” during the relevant time
           21    period. 6AC, ¶ 5. Plaintiffs allege that the Class encompasses more than 1,000 individuals. 6AC, ¶
           22    16.
           23    C.       The Amount Placed in Controversy By The 6AC Exceeds $5 Million
           24             10.   Where a complaint “fails to allege a sufficiently specific total amount in controversy
           25    … [courts] apply the preponderance of the evidence burden of proof to the removing defendant.”
           26    Guglielmino v. McKee Foods Corp., 506 F.3d 696, 701 (9th Cir. 2007). Here, Plaintiffs’ 6AC does
           27    not specify the amount that Plaintiffs allege is in controversy nor have they expressly limited their
           28    recovery in this case. 6AC, Prayer for Relief. “It is clear that in the context of removal, even before
                                                                    3
Gibson, Dunn &                           NOTICE OF REMOVAL OF CLASS ACTION BY DEFENDANT
Crutcher LLP                                         TAYLOR FARMS PACIFIC, INC.
                      Case 2:13-cv-01282-KJM-AC Document 2 Filed 06/26/13 Page 7 of 8

            1    CAFA, plaintiff's allegation simply does not control or end the amount in controversy analysis[,]
            2    [rather] … the court must assess jurisdiction under CAFA to determine whether the amount in
            3    controversy requirement of § 1332(d) has been met.” Yeroushalmi v. Blockbuster Inc., Case No. CV
            4    05-2550, 2005 U.S. Dist. LEXIS 39331, at *7 (C.D. Cal. July 11, 2005). In light of the 6AC’s
            5    ambiguity regarding the amount placed in controversy by the claims contained therein, the
            6    preponderance of the evidence standard applies to this Notice of Removal. See, e.g., Guglielmino,
            7    506 F.3d at 700 (applying the preponderance of the evidence standard where plaintiff’s complaint
            8    alleged that “damages to each Plaintiff are less than $75,000”).
            9           11.     Here, on February 6, 2013, Plaintiffs’ provided a settlement demand to Taylor Farms
           10    Pacific. Zenewicz Decl., Exh. D. Plaintiffs’ settlement offer at that time was $6 million. Id. The
           11    Ninth Circuit has specifically held that in assessing the amount in controversy, a settlement demand
           12    is both relevant and admissible. Cohn v. Petsmart, Inc., 281 F.3d 837, 840 (9th Cir. 2002). The
           13    Ninth Circuit expressly “reject[ed] the argument that Fed. R. Evid. 408 prohibits the use of settlement
           14    offers in determining the amount in controversy.” Id. at 840 n.3. In Cohn, the plaintiff’s
           15    representation in a settlement letter that his claims were worth $100,000 was sufficient to satisfy the
           16    $75,000 threshold for diversity jurisdiction. Id. at 840. Here, Plaintiffs’ settlement offer establishes
           17    that the amount in controversy, for jurisdictional purposes only, exceeds $5 million, as required by 28
           18    U.S.C. § 1332(d)(2).
           19                  THIS COURT HAS JURISDICTION AND REMOVAL IS PROPER
           20           12.     Based on the foregoing facts and allegations, this Court has original jurisdiction over
           21    this action pursuant to 28 U.S.C. § 1332(d) because:
           22                   (a)     this is a civil action which is a class action within the meaning of
           23                           § 1332(d)(1)(B);
           24                   (b)     the action involves a putative class of at least 100 persons as required by
           25                           Section 1332(d)(5)(B);
           26                   (c)     the alleged amount in controversy exceeds $5 million, exclusive of interest and
           27                           costs as required by Section 1332(d)(2); and
           28                   (d)     a member of the class is a citizen of a state different from any defendant as
                                                                    4
Gibson, Dunn &                          NOTICE OF REMOVAL OF CLASS ACTION BY DEFENDANT
Crutcher LLP                                        TAYLOR FARMS PACIFIC, INC.
                      Case 2:13-cv-01282-KJM-AC Document 2 Filed 06/26/13 Page 8 of 8

            1                           required by Section 1332(d)(2)(A).
            2           13.     Accordingly, this action is properly removable under 28 U.S.C. §§ 1441, 1446 and
            3    1453. In addition, the United States District Court for the Eastern District of California is the federal
            4    judicial district embracing the San Joaquin County Superior Court, where the suit was originally
            5    filed. 28 U.S.C. § 84(d). See also, 28 U.S.C. § 1441(a).
            6           14.     True and correct copies of the Summons, Initial Complaint and 6AC served on Taylor
            7    Farms Pacific are included as part of the Zenewicz Declaration as Exhibits A and B. A true and
            8    correct copy of all remaining process, pleadings and orders filed or received in the state court action
            9    are attached as Exhibit E to the Zenewicz Declaration. This constitutes the complete record of all
           10    records and proceedings in the state court and are appended hereto as required by 28 U.S.C.
           11    § 1446(a).
           12           15.     Upon filing the Notice of Removal, Taylor Farms Pacific will furnish written notice to
           13    Plaintiffs’ counsel, and will file and serve a copy of this Notice with the Clerk of the San Joaquin
           14    County Superior Court, pursuant to 28 U.S.C. § 1446(d).
           15

           16           Wherefore, Taylor Farms Pacific hereby removes this action from the Superior Court of
           17    California in and for the County of San Joaquin.
           18

           19    Dated: June 26, 2013
           20                                                  GIBSON, DUNN & CRUTCHER LLP
                                                               JESSE A. CRIPPS
           21                                                  SARAH ZENEWICZ
                                                               JOSEPH C. HANSEN
           22

           23
                                                               By:       /s/ Jesse A. Cripps
           24                                                              Jesse A. Cripps
           25                                                  Attorneys for Defendant
                                                               TAYLOR FARMS PACIFIC, INC.
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Gibson, Dunn &                          NOTICE OF REMOVAL OF CLASS ACTION BY DEFENDANT
Crutcher LLP                                        TAYLOR FARMS PACIFIC, INC.
